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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )
                  Plaintiff,                 )        ORDER GRANTING MOTION FOR
                                             )        PRE-SENTENCE RELEASE
         vs.                                 )
                                             )
Samantha Rose Jangula,                       )        Case No. 1:16-cr-208
                                             )
                  Defendant.                 )


         Defendant’s is currently in custody awaiting trial. She is being housed in the Stutsman

County Correctional Center. On November 6, 2017, she filed a “Motion to Change Conditions of

Bond and Release Client to Prairie St. John’s, Fargo, ND.” Therein she requests to be released on

November 7, 2017, for transport to Prairie St. John’s in Fargo, North Dakota, for treatment. The

Government has advised that it has no objection to defendant’s motion.

         Accordingly, the Court GRANTS defendant’s motion (Docket No. 153). Defendant shall

be released no earlier than 7:00 a.m. on November 7, 2017.1 Defendant shall report to Prairie St.

John’s by 10:00 a.m. on November 7, 2017. The court further ORDERS:

         (1)      Defendant shall not violate federal, state, tribal, or local law while on release.

         (2)      Defendant shall appear in court as required and surrender for any sentence imposed.

         (3)      Defendant shall report to the Pretrial Services Office at such times and in such

                  manner as designated by the supervising officer.

         (4)      Defendant shall refrain from the use of alcohol; any use or possession of a narcotic


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            Defendant has apparently made her own arrangements for transport to Prairie St. John’s. In granting
defendant’s motion, the court is not necessarily authorizing the reimbursement of or payment for expenses incurred and
time spent transporting defendant to Prairie St. John’s.

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      drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

      unless prescribed by a licensed medical practitioner, and any use of inhalants.

      Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

      Services Officer to verify compliance. Failure or refusal to submit to testing or

      tampering with the collection progress or specimen may be considered the same as

      a positive test.

(5)   Defendant shall submit her person, residence, vehicle, and/or possessions to a search

      conducted by the Pretrial Services Officer at the request the request of the Pretrial

      Services Officer. Failure to submit to a search may be grounds for revocation of

      pretrial release. Defendant shall notify any other residents that the premises may be

      subject to searches pursuant to this condition.

(6)   Defendant shall not possess a firearm, destructive device, or other dangerous

      weapon.

(7)   Defendant shall reside at Prairie St. John’s, comply with all of its rules and

      regulations, and fully participate in its treatment program. Upon her arrival at and

      admission to Prairie St. John’s, defendant shall immediately contact Pretrial

      Services Officer Heather Achtenberg-Heck at (701) 297-7218.

(8)   Defendant shall sign all releases of information so that the Pretrial Services Officer

      can monitor her progress and participation in Prairie St. John’s treatment program.

(9)   At least four days before completion of, or upon termination from, Prairie St. John’s

      treatment program, defendant shall contact the Pretrial Services Officer to discuss

      her living arrangements


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(10)   Upon her discharge from Prairie St. John’s, defendant shall reside at a residence

       approved by the Pretrial Services Officer and not change this residence without

       permission from the Pretrial Services Officer. If the Pretrial Services Officer

       determines that defendant is in need of a placement in a residential facility, defendant

       shall voluntarily report to the designated facility, comply with the facility’s rules and

       regulations, and participate in all recommended programming. If the Pretrial Services

       Officer does not approve of defendant’s proposed residence and determines either

       that the residential facility lacks space for defendant or that a placement of defendant

       at a residential facility is inappropriate, defendant shall report to the United States

       Marshal’s office in Fargo with the understanding that she shall be detained pending

       further order of the court.

Dated this 6th day of November, 2017.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court




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